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 8                              IN THE UNITED STATES DISTRICT COURT

 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA

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11

12   UNITED STATES OF AMERICA,

13                 Plaintiff,                          Cr. S-03-0042-003FCD

14          vs.                                        ORDER FOR RELEASE OF PERSON IN
                                                       CUSTODY
15   CHARLES LEE WHITE,
16                 Defendant.
                                                  /
17
     TO:    UNITED STATES MARSHAL:
18

19          This is to authorize and direct you to release PRECIOUS POLK, Case No. Cr. S-03-0042

20   FCD, Charge - Failure to Appear after having been served a subpoena to appear as a material

21   witness in the above action, from custody.

22           X     Release on Personal Recognizance

23                 Bail Posted in the Sum of $ [ ]

24                         Unsecured Appearance Bond

25                         Appearance Bond with 10% Deposit

26
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 1                            Appearance Bond with Surety

 2                            Corporate Surety Bail Bond

 3                        X   (Other): Witness shall remain at the Vagabond Hotel until
 4                            May 3, 2007 at 8:00 a.m. where she shall then present herself at 501 I St,
 5
                              Sacramento CA, US Attorney Office on the 10th Floor.
 6
              Issued at Sacramento, CA on May 3, 2007 at 3:51 p.m.
 7
     Dated: May 3, 2007
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10                                          _______________________________________
                                            FRANK C. DAMRELL, JR.
11                                          UNITED STATES DISTRICT JUDGE

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26   POLK release order.wpd                            2
